
Doderidge, J.
He shall not be relieved here. It was his own folly to deliver the writing to a person who took so little care of it. Perhaps there was some condition or limitation in the deed, on which the annuity ended; and he now pretends to have lost the deed, in order to charge his brother absolutely. But if the deed had been casually lost, as by fire, &amp;c, he might have relief in equity, as in the case *of Vincent and Beverly.
And it was referred to Justice Hutton. In this case it was held by Doderidge, J. et non fuit negatum, that where the lessor enters on the lessee, and suspends the rent, he shall not have relief in equity; for it is against law. Poph. 205, 206. Noy 82. 3 Bulstr. 315. 1 Roll. 378. Barry and Style, antea, p. 24.
